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                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION

ETHAN ROSS FRIAR                                                              PLAINTIFF

V.                              CASE NO. 5:23-CV-05199

SHERIFF JAY CANTRELL, Washington
County, Arkansas; and TECH FRIENDS, INC.,
Mail Contractor                                                            DEFENDANTS

                                          ORDER

        Now before the Court is the Report and Recommendation (Doc. 6) of the

Honorable Christy Comstock, United States Magistrate Judge for the Western District of

Arkansas.     Fourteen (14) days have passed without objections being filed by the parties.

        The Court has reviewed this case and, being well and sufficiently advised, finds as

follows: the Report and Recommendation is proper and should be and hereby is

ADOPTED IN ITS ENTIRETY.           Accordingly, the case is DISMISSED pursuant to 28

U.S.C. §1915A(b)(1) for failure to state a claim upon which relief may be granted.

Plaintiff is warned that, in the future, this dismissal may be counted as a strike for

purposes of 28 U.S.C. § 1915(g) and thus, the Clerk is directed to place a § 1915(g)

strike flag on the case for future judicial consideration.   Finally, pursuant to 28 U.S.C.

§ 1915(a)(3), the Court finds that any appeal from this dismissal would not be taken in

good faith.

        IT IS SO ORDERED on this 18th day of December, 2023.

                                          /s/ Timothy L. Brooks
                                          TIMOTHY L. BROOKS
                                          UNITED STATES DISTRICT JUDGE
